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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

WENDY S. WARNER,                                 §
Plaintiff,                                       §
                                                 §
                                                 §
v.                                               §    CIVIL ACTION NO. A-13-CV-441-JRN
                                                 §
                                                 §
QUALITY SYSTEMS, INC., NEXTGEN                   §
HEALTHCARE INFORMATION                           §
SYSTEMS, LLC, and                                §
C.Q.I. SOLUTIONS, INC.,                          §     JURY TRIAL DEMANDED
Defendants.                                      §

                REPORT OF RULE 26(f) CONFERENCE AND DISCOVERY PLAN

       Plaintiff and Defendants (collectively “the Parties”) submit the following Report and

Discovery Plan pursuant to FED. R. CIV. P. 26(f).

       1.         Rule 26(f) Conference: The Parties conducted the Rule 26(f) conference on July

2, 2013.

       2.         Nature and Basis of Claims and Defenses: Plaintiff has brought this lawsuit on

the basis that she was sexually harassed in violation of Texas Labor Code § 21.051, subject to a

hostile work environment, and subject to retaliation in violation of Texas Labor Code § 21.055.

Defendant denies Plaintiff’s contentions.

       3.         Possibility of Prompt Settlement: At this time, the Parties have agreed to discuss

the possibility of mediation of this action following responses to written discovery and

depositions.

           4.     Rule 26(a) Disclosures: Pursuant to FED. R. CIV. P. 26(a)(1), the Parties stipulate

and agree that they will submit initial disclosures to each other by July 30, 2013. The Parties

further agree that no changes should be made in the timing, form, or requirement of other
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disclosures under Rule 26(a), except to the extent that the Court has ordered otherwise.

          5.      Discovery Plan: The Parties agree that discovery will be conducted on matters

that include, but are not limited to, (1) the merits of Plaintiff’s claims; (2) Plaintiff’s damages;

and (3) Defendant’s defenses. The Parties agree that discovery will be completed by whatever

date is established by the Court in its Scheduling Order. The Parties reserve the right to request

additional time for discovery. The Parties agree that no changes should be made to the generally

applicable discovery rules, and that all discovery will be conducted pursuant to the Federal Rules

of Civil Procedure and this Court’s orders. Privileges will be asserted pursuant to the Federal

Rules of Civil Procedure.

          6.      Preservation of Discoverable Information: The Parties agree that all

discoverable information in this case will be preserved in its native format.

          7.      Electronically Stored Information: The Parties agree that electronically stored

information may be produced in a hard copy form in response to a discovery request, unless the

Party requesting the information specifically requests production in another form (i.e., electronic

or native form) in that specific discovery request.

          8.      Proposed Scheduling Order: The Parties have filed a proposed scheduling order

with the Court.

          9.      Consent to Magistrate: Plaintiff agrees to consent to a magistrate. Defendants’

counsel will confer with their clients to consider consent to a Magistrate Judge in this action.

The Parties will file Notices of Consent by July 26, 2013.

          10.     Pending Motions: There are no pending motions at this time.

          11.     Estimated Trial Length: The Parties estimate a trial length of 3-4 days in this

matter.
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Respectfully Submitted,

THE COOK LAW FIRM                       JACKSON LEWIS LLP

/s/ R. Scott Cook                       /s/ Michael Deponte

___________________________________     ___________________________________

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